                                DECISION
{¶ 1} This cause came on to be considered upon a notice of appeal, the transcript of the docket and journal entries, the transcript of proceedings and original papers from the Warren County Court of Common Pleas, and upon the briefs filed by counsel and appellant, Samuel E. Landis, pro se, oral argument having been waived.
  {¶ 2} Counsel for defendant-appellant, Samuel E. Landis, has filed a brief with this court pursuant to Anders v. California (1967),386 U.S. 738, 87 S.Ct. 1396, which (1) indicates that a careful review of the record from the proceedings below fails to disclose any errors by the trial court prejudicial to the rights of appellant upon which an assignment of error may be predicated; (2) lists three potential errors "that might arguably support the appeal," Anders at 744,87 S.Ct. at 1400; (3) requests that this court review the record independently to determine whether the proceedings are free from prejudicial error and without infringement of appellant's constitutional rights; (4) requests permission to withdraw as counsel for appellant on the basis that the appeal is wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have been served upon appellant.
  {¶ 3} Appellant has filed a pro se brief which, although not raising specific assignments of error, claims appellant no longer has a mental illness and has no further need to be supervised, and that appellant's original 1989 not guilty by reason of insanity plea was flawed. We have accordingly examined the record, the potential assignments of error presented in counsel's brief, and the arguments in appellant's pro se brief and find no error prejudicial to appellant's rights in the proceedings in the trial court. Therefore, the motion of counsel for appellant requesting to withdraw as counsel is granted, and this appeal is dismissed for the reason that it is wholly frivolous.
VALEN, P.J., YOUNG and WALSH, JJ., concur.